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                            UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF ILLINOIS

  SABRA RENCH, individually and on behalf  )
  of all others similarly situated,        )
                                           )
        Plaintiff,                         )                   Case No. 3:13-cv-00922-SMY-PMF
                                           )
  v.                                       )
                                           )
  TD BANK, N.A., A-1 ALLERGY RELIEF, INC., )
  and HMI INDUSTRIES, INC.,                )
                                           )
        Defendants.                        )

                      PLAINTIFF’S UNOPPOSED MOTION FOR
                     CERTIFICATION OF A SETTLEMENT CLASS
            AND PRELIMINARY APPROVAL OF CLASS ACTION SETTLEMENT

           Plaintiff Sabra Rench, after conducting arm’s-length negotiations with Defendant TD

  Bank, N.A. (“TD Bank”) and reaching a settlement agreement, hereby moves the Court for:

           1.     An Order preliminarily approving the Settlement Agreement with TD Bank in this

  case, a copy of which is attached as Exhibit 1 to the memorandum of law filed herewith.

           2.     An Order certifying the Settlement Class, as defined in the Settlement Agreement.

           3.     An Order approving the proposed notice and directing notice to be sent to the

  Settlement Class.

           4.     An Order scheduling a final Fairness Hearing to determine whether to grant final

  approval to the settlement.

           5.     All other relief as set forth in the Proposed Order for Preliminary Approval.

           6.     For the reasons outlined in the memorandum of law filed herewith, the Settlement

  Agreement provides for a fair resolution of the disputes between TD Bank and the Settlement

  Class.




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         7.      TD Bank has advised Plaintiff that it does not oppose this motion or the requested

  relief sought herein.

         WHEREFORE, Plaintiff Sabra Rench respectfully requests that the Court certify the

  Settlement Class, grant preliminary approval of the settlement between the Settlement Class and

  TD Bank, N.A., enter the Proposed Order for Preliminary Approval., directing notice to Class

  Members and scheduling a final Fairness Hearing, and for such further relief as the Court deems

  just and proper.



  Dated: June 20, 2016                         Respectfully submitted,


                                               GOLDENBERG HELLER & ANTOGNOLI. P.C.


                                               By: /s/ Kevin P. Green
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                                               Interim Settlement Class Counsel




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                                  CERTIFICATE OF SERVICE

         The undersigned hereby certifies that a copy of the foregoing was electronically filed
  with the United States District Court, Southern District of Illinois, via the Court’s CM/ECF filing
  system, which will send notification of such filing to counsel of record, on June 20, 2016.


                                               /s/ Kevin P. Green




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